       Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 1 of 24



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


STATE OF NEW YORK, et al.,

                    Plaintiffs,

            v.
                                           Civil Action No. 18-1747 (JDB)
U.S. DEPARTMENT OF LABOR, et al.,

                    Defendants.




            BRIEF OF MEMBERS OF CONGRESS AS AMICI CURIAE
                       IN SUPPORT OF PLAINTIFFS


                                        Elizabeth B. Wydra (DC Bar No. 483298)
                                        Brianne J. Gorod (DC Bar No. 982075)
                                        Ashwin P. Phatak (DC Bar No. 1531218)
                                        CONSTITUTIONAL ACCOUNTABILITY
                                            CENTER
                                        1200 18th Street, N.W., Suite 501
                                        Washington, D.C. 20036
                                        (202) 296-6889
                                        brianne@theusconstitution.org

                                        Counsel for Amici Curiae Members
                                        of Congress
             Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 2 of 24



                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................................................                   ii

INTEREST OF AMICI CURIAE ............................................................................................                     1

INTRODUCTION ..................................................................................................................           1

ARGUMENT ..........................................................................................................................       5

     I. THE DISTINCTION BETWEEN INDIVIDUAL, SMALL GROUP, AND
        LARGE GROUP MARKETS IS CRITICAL TO THE AFFORDABLE CARE
        ACT’S STRUCTURE AND CONGRESS’S LEGISLATIVE PLAN IN
        ENACTING THE ACT. .............................................................................................                   5

     II. THE DEPARTMENT OF LABOR RULE IS AT ODDS WITH THE LAW’S
         TEXT, STRUCTURE, AND HISTORY BECAUSE IT WOULD UNDERMINE
         THE ACA’S FUNDAMENTAL DISTINCTION BETWEEN SMALL AND
         LARGE EMPLOYERS. .............................................................................................                  10

CONCLUSION .......................................................................................................................       17

APPENDIX .............................................................................................................................   1A




                                                                       i
             Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 3 of 24



                                                 TABLE OF AUTHORITIES

                                                                                                                                Page(s)
Cases
Cmty. for Creative Non-Violence v. Reid,
  490 U.S. 730 (1989) ....................................................................................................           11

FDA v. Brown & Williamson Tobacco Corp.,
  529 U.S. 120 (2000) ....................................................................................................           14
Gruber v. Hubbard Bert Karle Weber, Inc.,
  159 F.3d 780 (3d Cir. 1998) ........................................................................................               14

Gulf Oil Corp. v. Copp Paving Co.,
  419 U.S. 186 (1974) ....................................................................................................           16

King v. Burwell,
  135 S. Ct. 2480 (2015) ................................................................................................          5, 13
Nat’l Fed’n of Indep. Bus. v. Sebelius,
  567 U.S. 519 (2012) ....................................................................................................            6



Legislative and Executive Branch Materials

26 U.S.C. § 36B .............................................................................................................        10

26 U.S.C. § 36B(c)(2)(C) ...............................................................................................             15

26 U.S.C. § 45R .............................................................................................................        10

26 U.S.C. § 414(b) .........................................................................................................         13

26 U.S.C. § 414(c) .........................................................................................................         13

26 U.S.C. § 414(m)(2)(A) ..............................................................................................              13

26 U.S.C. § 1563(a) .......................................................................................................          13

26 U.S.C. § 4980H(a)(1) ................................................................................................             10

29 U.S.C. § 1002(5) .......................................................................................................           3

42 U.S.C. § 300gg ..........................................................................................................          2

42 U.S.C. § 300gg(a)(1) .................................................................................................            10

42 U.S.C. § 300gg-3 ......................................................................................................         5, 10



                                                                      ii
              Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 4 of 24




                                           TABLE OF AUTHORITIES – cont’d

                                                                                                                                     Page(s)
42 U.S.C. § 300gg-6(a) ..................................................................................................               2, 8

42 U.S.C. § 300gg-91(a) ................................................................................................                  14

42 U.S.C. § 300gg-91(a)(6) ...........................................................................................                12, 13

42 U.S.C. § 300gg-91(e) ................................................................................................                2, 8

42 U.S.C. § 300gg-91(e)(2) ...........................................................................................                     4

42 U.S.C. § 18022(b)(1) ................................................................................................                2, 9

42 U.S.C. § 18022(b)(2)(A) ..........................................................................................                      9

42 U.S.C. § 18024(b)(4) ................................................................................................                  13

42 U.S.C. § 18031 .........................................................................................................               10

42 U.S.C. § 18032(c)(1) ................................................................................................                2, 8

42 U.S.C. § 18032(c)(2) ................................................................................................                2, 8

42 U.S.C. § 18091(2)(D)................................................................................................                 1, 5

155 Cong. Rec. (daily ed. Oct. 21, 2009) ......................................................................                            7

155 Cong. Rec. (daily ed. Nov. 18, 2009) .....................................................................                          7, 8

155 Cong. Rec. (daily ed. Dec. 23, 2009) ......................................................................                           15

155 Cong. Rec. (daily ed. Dec. 24, 2009) ......................................................................                           15

155 Cong. Rec. (daily ed. Mar. 21, 2010)......................................................................                            16

Coverage; Reporting and Disclosure Requirements, 40 Fed. Reg. 34,526 (Aug. 15,
  1975) ..........................................................................................................................         3
Definition of “Employer” Under Section 3(5) of ERISA – Association Health Plans, 83
  Fed. Reg. 28,912 (June 21, 2018)..............................................................................                     3, 4, 15

Exec. Order No. 13813, 2017 WL 4546389 (Oct. 12, 2017) .........................................                                          11

Final Vote Results for Roll Call 885 (Nov. 7, 2009, 10:28 PM), http://clerk.house.gov/
   evs/2009/roll885.xml .................................................................................................                 16

H.R. Rep. No. 109-41 (2005) .........................................................................................                     16

H.R. Rep. No. 111-299 (2009) ......................................................................................                     6, 7



                                                                         iii
              Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 5 of 24




                                           TABLE OF AUTHORITIES – cont’d

                                                                                                                                     Page(s)
Books, Articles, and Other Authorities

Alexander Acosta, A Health Fix for Mom and Pop Shops, Wall St. J. (June 18,
2018) ............................................................................................................................       14

Black’s Law Dictionary (8th ed. 2004)..........................................................................                          11

Dep’t of Labor, Opinion Letter on ERISA, No. 2007-06A (Aug. 16, 2007) .................                                                   3
Overview of Provisions in the Amendment in the Nature of a Substitute to H.R. 3962 Of-
fered by Mr. Boehner of Ohio, Congressional Research Service, R40906 (Nov. 10,
2009) ............................................................................................................................       16

President Donald Trump, Remarks at the National Federation of Independent Businesses
75th Anniversary Celebration (June 19, 2018) ..............................................................                               2
U.S. Dep’t of Labor, MEWAs: Multiple Employer Welfare Arrangements under the Em-
ployee Retirement Income Security Act (ERISA): A Guide to Federal and State Regulation
(Aug. 2013) ....................................................................................................................         12




                                                                         iv
           Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 6 of 24



                                INTEREST OF AMICI CURIAE1

       Amici are Democratic leaders in the House of Representatives who were actively involved

in the enactment of the Patient Protection and Affordable Care Act (“ACA” or “the Act”) and are

thus particularly well suited to provide the Court with background on the text, structure, and history

of the law. In particular, amici can provide insight into how the law was designed to achieve its

goal of expanding access to affordable health insurance through the reform of state individual

health insurance markets. Amici thus have unique knowledge about, and a strong interest in, the

question whether the Department of Labor’s new Rule is consistent with the text, structure, and

history of the ACA. As amici well know, it is not: the ACA was structured to distinguish between

small group and individual markets on the one hand, and the large group market on the other, and

the new Rule eviscerates that distinction in a manner that violates the text of the ACA and under-

mines Congress’s plan in passing it. A full listing of amici appears in the Appendix.

                                        INTRODUCTION

       In 2010, Congress enacted the Patient Protection and Affordable Care Act, a landmark law

dedicated to achieving widespread, affordable health coverage. To help achieve the statute’s goal

of “near-universal coverage,” 42 U.S.C. § 18091(2)(D), without regard to pre-existing health con-

ditions or health status, Congress extensively studied the health insurance market and the reasons

why affordable health insurance was unavailable to so many Americans. It determined that a key

problem with the health insurance market prior to the ACA’s enactment was the asymmetry in

benefits and protections provided by large and small employers. Specifically, individual and small

group plans often lacked coverage of important benefits, and the premiums were often




       1
         No person or entity other than amici and their counsel assisted in or made a monetary
contribution to the preparation or submission of this brief.


                                                  1
         Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 7 of 24



unaffordable because they were based on the health risk of applicants on an individual or small

group basis. Most large employers, by contrast, already offered comprehensive health benefits

and other protections to their employees.

       To address that asymmetry, Congress distinguished between three different markets—in-

dividual, small group, and large group, see 42 U.S.C. § 300gg-91(e) (defining individual market,

large employer, and small employer)—and imposed certain reforms only on the individual and

small group markets. For example, Congress limited discrimination in premiums based on factors

such as health, gender, region, and occupation in individual and small group plans. Id. § 300gg.

It required that individual and small group plans provide an “essential health benefits package”

that includes ten essential benefits, thereby ensuring comprehensive coverage. Id. § 300gg-6(a);

id. § 18022(b)(1)(A)-(J). And it required that insurers offering individual and small group plans

treat all enrollees in these markets as “members of a single risk pool.” Id. § 18032(c)(1)-(2). Thus,

this distinction between individual and small group plans on the one hand, and large group plans

on the other, was critical to Congress’s plan in passing the ACA.

       Despite the key role that this distinction plays in the structure of the ACA—or, more accu-

rately, because of it, see Compl. ¶ 6 (noting that President Trump hailed the rule as a means to

“escape some of ObamaCare’s most burdensome mandates” (quoting President Donald Trump,

Remarks at the National Federation of Independent Businesses 75th Anniversary Celebration

(June 19, 2018), https://www.whitehouse.gov/briefings-statements/remarks-president-trump-na-

tional-federation-independent-businesses-75th-anniversary-celebration)—the Trump Administra-

tion’s Department of Labor has promulgated a final rule that eviscerates that distinction by aban-

doning the Department’s long-standing approach to defining the term “employer” under the Em-

ployee Retirement Income Security Act (ERISA), the federal law that governs employee group




                                                 2
         Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 8 of 24



health plans. Under ERISA, the term “employer” is defined to include “any person acting directly

as an employer, or indirectly in the interest of an employer, in relation to an employee benefit plan;

and includes a group or association of employers acting for an employer in such capacity.” 29

U.S.C. § 1002(5). At the time of the ACA’s enactment, the criteria the Department of Labor

considered in determining whether an “association” should qualify as an “employer” were well

established. Among other things, the Department looked at the process and purpose by which the

association was formed, whether there was a pre-existing relationship among employer members,

who was entitled to participate, and whether employer members actually controlled the benefit

plan’s activities. See, e.g., Dep’t of Labor, Opinion Letter on ERISA, No. 2007-06A (Aug. 16,

2007). At the time of the ACA’s enactment, it was also well settled that an individual with no

employees could not be both an “employer” and an “employee.” Coverage; Reporting and Dis-

closure Requirements, 40 Fed. Reg. 34,526, 34,533 (Aug. 15, 1975).

       The Department of Labor’s new Rule changes these well-settled interpretations in two

ways. First, the new Rule explicitly provides that an association qualifies as an employer even if

“[t]he primary purpose of the group or association [is] to offer and provide health coverage to its

employer members and their employees,” so long as the association also has “at least one substan-

tial business purpose unrelated to offering and providing health coverage,” such as “promoting

common business interests of its members.” Definition of “Employer” Under Section 3(5) of

ERISA – Association Health Plans, 83 Fed. Reg. 28,912, 28,962 (June 21, 2018). Such an asso-

ciation would not have qualified as an “employer” under the Department’s prior policy. Second,

the new Rule provides that a self-employed person with no other employees is an “employer” and

is therefore entitled to form or join an employer association. And in order to ensure that these new

associations are exempt from the ACA’s small-group market provisions, the Rule provides that




                                                  3
         Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 9 of 24



“because an [Association Health Plan (AHP)] would constitute a single group health plan, whether

the AHP would be buying insurance in the large or small group market would be determined by

reference to the total number of employees of all the member employers participating in the AHP.”

Id. at 28,915.

       The effect of these changes will be, as the Rule frankly acknowledges, to undermine the

protections that the ACA put in place specifically in the small group and individual marketplaces.

As the Rule explains, participation in AHPs will enable “employees of small employers and work-

ing owners . . . to obtain coverage that is not subject to the regulatory complexity and burden that

currently characterizes the market for individual and small group health coverage and, therefore,

[to] enjoy flexibility with respect to benefits package design comparable to that enjoyed by large

employers.” Id. at 28,912; id. at 28,933 (stating that the Rule is designed to “level[] the playing

field between small employers in AHPs, on the one hand, and large employers, on the other”); id.

at 28,913 (noting that “[w]hether, and the extent to which, various regulatory requirements apply

to association health coverage depends on whether the coverage is individual or group coverage

and, in turn, whether the group coverage is small or large group coverage”). In short, the Rule

permits individual and small group health plans to skirt the requirements that the ACA specifically

and intentionally imposed on those plans.

       This outcome is at odds with the ACA’s text, structure, and history, and therefore cannot

stand. First, the Rule is unlawful under the text of the ACA, which defines a large employer as

“an employer who employed an average of at least 51 employees” during the preceding year. 42

U.S.C. § 300gg-91(e)(2) (emphasis added). Congress’s use of the words “employed” and “em-

ployees” cabins the category of “employer[s]” that qualify as “large” employers for purposes of

the ACA to those organizations that have an employer-employee relationship with more than 50




                                                 4
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 10 of 24



individuals. Organizations and individuals that band together to form an AHP do not “employ” at

least 51 “employees” and thus cannot qualify as “large” employers.

       Second, the Rule is unlawful because it would undermine the fundamental structure of the

ACA, which was designed to apply different benefits and protections to large-employer, small-

employer, and individual health plans. While Congress applied some of the Act’s reforms to all

markets, see, e.g., id. § 300gg-3 (pre-existing conditions), the number of provisions that addressed

only the individual and small group markets reflects the importance of the distinction that Congress

drew between those markets on the one hand, and the large group market on the other—as well as

how significant that distinction is to the structure and overall operation of the ACA. By permitting

small employers and individuals to band together in an AHP, the Rule would exempt these em-

ployers from the requirements imposed on individuals and small employers under the Act while

simultaneously exempting them from the employer mandate that applies only to large employers

under the Act. The creation of this giant loophole in the ACA’s protections runs contrary to the

structure of the Act.

       Third, and finally, the Rule contravenes the history of the ACA’s enactment because Con-

gress considered—and rejected—a proposal to permit AHPs similar to the ones allowed by this

Rule during the debate over the ACA. Similar proposals were also rejected multiple times in the

years before the ACA’s passage. For all those reasons, the Department of Labor’s Rule is contrary

to the ACA and cannot survive.




                                                 5
          Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 11 of 24



                                           ARGUMENT

I.        THE DISTINCTION BETWEEN INDIVIDUAL, SMALL GROUP, AND LARGE
          GROUP MARKETS IS CRITICAL TO THE AFFORDABLE CARE ACT’S
          STRUCTURE AND CONGRESS’S LEGISLATIVE PLAN IN ENACTING THE
          ACT.

          As the ACA’s text makes clear, its goal was to achieve “near-universal coverage” and to

ensure that that coverage would be affordable for all Americans. 42 U.S.C. § 18091(2)(D); King

v. Burwell, 135 S. Ct. 2480, 2485 (2015) (ACA “adopts a series of interlocking reforms designed

to expand coverage in the individual health insurance market”); Nat’l Fed’n of Indep. Bus. v. Sebe-

lius, 567 U.S. 519, 538 (2012) (ACA adopted “to increase the number of Americans covered by

health insurance and decrease the cost of health care”).

          In order to determine how best to achieve those goals, Congress extensively studied the

health insurance market and the reasons why affordable health insurance was unavailable to so

many Americans. As amici well know from their involvement in the drafting and passage of the

ACA, Congress determined that a key problem with the health insurance market prior to the ACA’s

enactment was the asymmetry between large and small employers. As one House report explained,

“[a]pproximately 99% of large employers (200 or more workers) offer health benefits to at least

some of their employees,” while “[l]ess than half of all small employers (less than 50 employees)

offer health insurance coverage to their employees.” H.R. Rep. No. 111-299, pt. 1, at 321-22

(2009).

          The reasons for this disparity lay in key differences between the two markets. At the time

of the ACA’s passage, “[l]arge employers [were] generally able to obtain lower premiums for a

given health insurance package than small employers and individuals” because small-employer

pools were “generally considered to be less stable than larger pools, as one or two employees

moving in or out of the pool (or developing an illness) would have a greater impact on the average



                                                  6
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 12 of 24



per-person cost of health care than they would in a larger pool. Also, small groups lack[ed] the

economies of scale and leveraging ability available to large employers.” Id. As a result, “the vast

majority of large firms typically [could] find and provide health insurance in the private market,

in contrast with small firms and individuals.” Id. at 322; see id. (noting that prior to the ACA’s

passage, “small employers face[d] greater difficulties in obtaining health insurance in the private

market than large employers”).

       Congress recognized that similar factors also made it more difficult for individuals to ob-

tain coverage—or at least comprehensive coverage—in the individual health insurance market.

According to the same House report, “[d]epending on the applicable state laws, individuals who

purchase health insurance in the non-group market may be rejected or face premiums that reflect

their health status, which can make premiums lower for the healthy but higher for the sick. Even

when these individuals are issued a health insurance policy, the insurer may be allowed to exclude

coverage for pre-existing health conditions.” Id.

       As the ACA was being drafted and debated, the differences between individual and small

group markets on the one hand, and the large group market on the other, and the need to address

those differences, were a constant refrain. Senator Mark Warner, for example, noted the “enor-

mous challenges that small businesses face in the health care market.” 155 Cong. Rec. S11446

(daily ed. Nov. 18, 2009); see id. (“Small businesses currently lack the bargaining power of large

firms . . . . Small businesses are the group that falls through the cracks.”). Representative Bart

Stupak also noted the problems in the small group market, explaining that “[t]he insurance com-

panies take advantage of lax State laws and regulations, and they purge out small businesses be-

cause they’re unprofitable if someone gets sick.” Id. at H11570 (daily ed. Oct. 21, 2009); see id.

(“Because Federal law guarantees small businesses can’t be denied insurance once they have it,




                                                7
          Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 13 of 24



they impose unpredictable, increasingly unaffordable premium increases. These unsustainable

premiums force the small businesses to drop their health insurance because it’s no longer afforda-

ble.”).

          With all this information in mind, Congress ultimately decided that the best way to address

these differences and thereby ensure affordable, near-universal coverage for all Americans was to

guarantee that individuals and employees of small employers would have access to the same health

insurance as individuals employed by large employers. To achieve that end, Congress distin-

guished between three different markets—individual, small group, and large group—and applied

different reforms to each of the three groups. See 42 U.S.C. § 300gg-91(e) (defining individual,

large employer, and small employer markets).

          Significantly, the Act imposed a number of reforms that were specific to the individual and

small group markets. See Dkt. No. 48-1, at 8 (“The ACA imposed greater requirements for health

insurance offered to ‘individuals’ and ‘small employers,’ thereby imposing different regulatory

burdens for small employers offering health benefits to their employees, as compared to large

employers.” (citing 42 U.S.C. § 300gg-6(a))). The Act, for example, took aim at the fragmentation

of risk pools that led to premium volatility, inadequate benefits, and discrimination, providing for

single risk pools in the individual and small group markets. See 42 U.S.C. § 18032(c)(1) (“A

health insurance issuer shall consider all enrollees in all health plans (other than grandfathered

health plans) offered by such issuer in the individual market, including those enrollees who do not

enroll in such plans through the Exchange, to be members of a single risk pool.”); id. § 18032(c)(2)

(“A health insurance issuer shall consider all enrollees in all health plans (other than grandfathered

health plans) offered by such issuer in the small group market, including those enrollees who do

not enroll in such plans through the Exchange, to be members of a single risk pool.”); see also 155




                                                   8
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 14 of 24



Cong. Rec. S11447-48 (daily ed. Nov. 18, 2009) (statement of Sen. Mark Udall) (“The new health

insurance exchanges envisioned under the reform packages before us would permit small employ-

ers to purchase policies that spread risk across a much larger population.”).

       The Act also addressed the inadequacy of benefits in the individual and small group mar-

kets by expressly providing that insurance offered in those markets would include “essential health

benefits.” 42 U.S.C. § 300gg-6(a) (“A health insurance issuer that offers health insurance coverage

in the individual or small group market shall ensure that such coverage includes the essential health

benefits package required under section 18022(a) of this title.”). While the law gave the Secretary

of Health and Human Services authority to define what those “essential health benefits” would be,

the law specified that “such benefits shall include at least the following general categories”: am-

bulatory patient services, emergency services, hospitalization, maternity and newborn care, mental

health and substance use disorder services, prescription drugs, rehabilitative and habilitative ser-

vices, laboratory services, preventive and wellness services and chronic disease management, and

pediatric services, including oral and vision care. Id. § 18022(b)(1). Indeed, the text of the law

made clear that the goal of this essential benefits package was to ensure that the benefits provided

to individuals and employees of small employers were comparable to those provided to employees

of larger employers, and that small employer plans could not undermine the Act’s goal of mandat-

ing coverage for certain benefits by cherry-picking which essential benefits to provide to consum-

ers. Id. § 18022(b)(2)(A) (“The Secretary shall ensure that the scope of the essential health benefits

under paragraph (1) is equal to the scope of benefits provided under a typical employer plan, as

determined by the Secretary.”).

       Finally, the Act addressed premium volatility by again imposing a reform specific to the

individual and small group markets, providing that premiums may not vary except based on certain




                                                  9
           Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 15 of 24



narrow categories. “With respect to the premium rate charged by a health insurance issuer for

health insurance coverage offered in the individual or small group market—(A) such rate shall

vary with respect to the particular plan or coverage involved only by—(i) whether such plan or

coverage covers an individual or family; (ii) rating area, as established in accordance with para-

graph (2); (iii) age, except that such rate shall not vary by more than 3 to 1 for adults (consistent

with section 300gg-6(c) of this title); and (iv) tobacco use, except that such rate shall not vary by

more than 1.5 to 1; and (B) such rate shall not vary with respect to the particular plan or coverage

involved by any other factor not described in subparagraph (A).” Id. § 300gg(a)(1).2

       The ACA did not impose these same requirements on large group employers because most

large group employers already provided comprehensive health insurance to their employees. In-

deed, even though the ACA required large employers to provide health coverage or pay a tax

penalty, see 26 U.S.C. § 4980H(a)(1) (large employer must offer “its full-time employees (and

their dependents) the opportunity to enroll in minimum essential coverage”), the mandated cover-

age was not required to meet the same standards as those set for the individual and small group

markets.

       Thus, while Congress applied some of the Act’s reforms to all markets, see, e.g., 42 U.S.C.

§ 300gg-3 (pre-existing conditions), its decision to apply numerous critical reforms only to the

individual and small group markets reflects the importance of the distinction that Congress drew

between those markets on the one hand, and the large group market on the other—as well as how

significant that distinction is to the structure and overall operation of the ACA. The Department



       2
         The ACA also provided other reforms specific to the individual and small group markets:
tax credits to subsidize individuals’ purchase of health insurance, 26 U.S.C. § 36B; credits for
small businesses, id. § 45R; and the establishment of exchanges for the purchase of individual and
small group coverage, 42 U.S.C. § 18031.


                                                 10
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 16 of 24



of Labor Rule at issue here would fundamentally undermine that distinction and is at odds with

the ACA’s text, structure, and history, as the next Section discusses.

II.    THE DEPARTMENT OF LABOR RULE IS AT ODDS WITH THE LAW’S TEXT,
       STRUCTURE, AND HISTORY BECAUSE IT WOULD UNDERMINE THE ACA’S
       FUNDAMENTAL DISTINCTION BETWEEN SMALL AND LARGE EMPLOY-
       ERS.

       On October 12, 2017, President Trump signed Executive Order 13813, which, among other

things, directed his Administration to identify means of expanding Association Health Plans

(AHPs). The Order made clear that “[e]xpanding access to AHPs” would “allow more small busi-

nesses to avoid many of the [Affordable Care Act’s] costly requirements.” Exec. Order No. 13813,

2017 WL 4546389 (Oct. 12, 2017). Fulfilling that directive, the Department of Labor promulgated

a Rule that will dramatically expand the number of AHPs and thereby undermine the ACA’s de-

liberately heightened protections for individuals and for employees of small employers.

       The Department of Labor’s Rule is at odds with the text, structure, and history of the ACA.

First, the Rule is at odds with the text of the ACA because the ACA’s use of the terms “employed”

and “employees” in defining the size of employers makes clear that to qualify as a large “em-

ployer” under the ACA, an employer must have a real employer-employee relationship with an

average of at least 51 individuals during the preceding year. An “employee” is “[a] person who

works in the service of another person (the employer) under an express or implied contract of hire,

under which the employer has the right to control the details of work performance.” Employee,

Black’s Law Dictionary (8th ed. 2004); see also Employ, Black’s Law Dictionary (8th ed. 2004)

(“employ” is defined as “[t]o make use of,” “[t]o hire,” “[t]o use as an agent or substitute in trans-

acting business,” and “[t]o commission and entrust with the performance of certain acts or func-

tions or with the management of one’s affairs”); Cmty. for Creative Non-Violence v. Reid, 490

U.S. 730, 739-40 (1989) (“In the past, when Congress has used the term ‘employee’ without



                                                 11
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 17 of 24



defining it, we have concluded that Congress intended to describe the conventional master-servant

relationship as understood by common-law agency doctrine.”).

       The Department of Labor’s new Rule violates this statutory language because it treats an

AHP as a “large employer,” even though the member employers of the Plan do not actually “em-

ploy” more than 50 “employees” in the ordinary sense of those words. See Dkt. No. 1, at 6 (As-

sociations “may be composed of entirely unrelated and separate employers (including potentially

all employers in a State) and purportedly self-employed individuals.”). To be sure, the ACA pro-

vides that “[t]he term ‘employer’ has the meaning given such term under section 3(5) of the Em-

ployee Retirement Income Security Act of 1974 [(ERISA)] except that such term shall include

only employers of two or more employees,” 42 U.S.C. § 300gg-91(a)(6), and the Department of

Labor has some flexibility in how it defines terms like “employer,” see Dkt. No. 48-1, at 3 (De-

partment has “rulemaking authority . . . to fill ‘gaps’ in the statute”). But the Department of Labor

may not promulgate a rule that is inconsistent with a statute that, like the ACA, was passed later

in time, and the Department of Labor’s own guidance makes clear that an “association” can qualify

as an “‘employer’ within the meaning of ERISA Section 3(5),” and still not “employ[]” the indi-

viduals “covered by the group or association-sponsored plan,” U.S. Dep’t of Labor, MEWAs: Mul-

tiple Employer Welfare Arrangements under the Employee Retirement Income Security Act

(ERISA): A Guide to Federal and State Regulation 22 (Aug. 2013), https://www.dol.gov/sites/de-

fault/files/ebsa/about-ebsa/our-activities/resource-center/publications/mewa-under-erisa-a-guide-

to-federal-and-state-regulation.pdf. Thus, by treating AHPs as large employers, the Department

of Labor’s Rule conflicts with the ACA’s use of the terms “employ” and “employees,” which

makes clear that the Department of Labor may not define a large employer to include a collection

of unrelated employers that individually “employ” fewer than 50 “employees.” And the Act




                                                 12
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 18 of 24



makes explicit that the Department may not define the term “employer” to include individuals who

employ zero employees because the Act limits the definition of “employer” to “include only em-

ployers of two or more employees,” 42 U.S.C. § 300gg-91(a)(6).

        On top of the ACA’s use of “employ” and “employee,” the ACA also explicitly identifies

certain circumstances in which the employees of more than one employer can be counted together

for the purpose of determining the size of an employer, but does not include an AHP as one of

those circumstances. See 42 U.S.C. § 18024(b)(4). Specifically, the Act allows for aggregation

when, among other things, several corporations have a common parent corporation that owns

eighty percent of the stock in all of the corporations, 26 U.S.C. § 414(b); id. § 1563(a); when a

group of partnerships or proprietorships are under “common control,” id. § 414(c); and when one

organization holds shares in another and provides services to that organization, id. § 414(m)(2)(A).

In other words, Congress chose to identify in the text of the Act certain circumstances where em-

ployees of more than one employer can count for determining employer size, but explicitly left out

AHPs. And that is with good reason: in setting up this critical distinction between small employers

and individuals on the one hand, and large employers on the other, Congress did not want that

distinction to be easily subverted by aggregating multiple, unrelated small employers and individ-

uals.

        Second, even if there were ambiguity in the text of the Act (which there is not), the new

Rule cannot survive because it is so plainly at odds with the structure of the ACA and Congress’s

plan in enacting it. See King, 135 S. Ct. at 2492 (“Given that the text is ambiguous, we must turn

to the broader structure of the Act to determine [its] meaning . . . .”). As discussed above, when

Congress drafted the ACA, it drew a critical distinction between the individual and small group

markets on the one hand, and the large group market on the other. As amici well know from their




                                                13
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 19 of 24



involvement in the drafting of the ACA, that distinction was a deliberate response to the problem

of fewer benefits and protections in the individual and small group markets, with plans in these

markets often cherry-picking which benefits to provide to consumers. See supra at 5-10. Thus,

Congress imposed certain requirements, like providing single risk pools and including essential

health benefits, on only small group and individual markets—that is, employers with fewer than

50 employees. Id.

       Congress did, of course, link the meaning of “employer” to the term “employer” in ERISA.

See 42 U.S.C. § 300gg-91(a). But it did so based on a decades-old understanding that a group or

association could qualify as an “employer” under ERISA only if “tied by a common economic or

representation interest, unrelated to the provision of benefits” and if “the association’s employer

members . . . have control—in form and substance—over, and direct involvement in the establish-

ment or maintenance of, the plan and the association.” Dkt. No. 1, at 14 (quoting Gruber v. Hub-

bard Bert Karle Weber, Inc., 159 F.3d 780, 787 (3d Cir. 1998)); cf. FDA v. Brown & Williamson

Tobacco Corp., 529 U.S. 120, 156 (2000) (“Congress has affirmatively acted to address the issue

of tobacco and health, relying on the representations of the FDA that it had no authority to regulate

tobacco.”). By throwing out that decades-old understanding upon which the ACA was premised,

the Rule at issue here would fundamentally undermine the distinction between large employers

and small employers. That is not only the effect of the Rule, but its explicit purpose. In an op-ed

promoting the Rule, Labor Secretary Alexander Acosta noted that “ObamaCare imposes starkly

different rules on large companies and small businesses,” and made clear that the Rule was de-

signed to eviscerate that distinction. Alexander Acosta, A Health Fix for Mom and Pop Shops,

Wall St. J. (June 18, 2018), https://www.wsj.com/articles/a-health-fix-for-mom-and-pop-shops-




                                                 14
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 20 of 24



1529363643; see id. (noting that “[s]mall businesses should face the same regulatory burden as

large companies, if not a lighter one”).

       The Rule is at odds with the structure of the ACA in another respect as well. As described

above, large employers that are not subject to the ACA’s more stringent consumer protections are

subject to an employer mandate that requires them to offer their employees affordable coverage

that meets certain minimum standards. 26 U.S.C. § 36B(c)(2)(C). Yet the new Rule provides that

the employer mandate will not apply to an AHP, but only to any member employers of that AHP

that independently satisfy the definition of “large employer.” 83 Fed. Reg. at 28,933 & n.54. In

other words, the Department of Labor’s new Rule creates a special loophole for members of AHPs

that would exempt them from the reforms that apply to individual and small group plans and the

employer mandate applicable to large group plans. The Rule therefore completely subverts Con-

gress’s plan in enacting the ACA.

       Third and finally, the Department of Labor’s Rule is also at odds with the history of the

Act’s enactment. During the lengthy deliberations and debate over the ACA, many opponents of

the Act complained that the legislation did not do exactly what the Department of Labor now

proposes to do by rule: allow small employers and individuals to band together to qualify for the

large group market. Senator John Ensign, for example, cautioned his colleagues that they should

not “settle for this bill” because, in his view, it would be better to have a “system that allows small

businesses to pool their purchasing power to provide health insurance to their employees through

Small business health plans.” 155 Cong. Rec. S14126 (daily ed. Dec. 24, 2009) (statement of Sen.

John Ensign); see id. at S13829 (daily ed. Dec. 23, 2009) (statement of Sen. John Kyl) (“We should

also allow small businesses to band together to pool their risk and purchase insurance at the same

rates large corporations get.”). As Representative Rodney Frelinghuysen noted, “this bill is . . .




                                                  15
         Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 21 of 24



notable for what it does not contain. . . . It fails to recognize the value of Association Health Plans,

which permit small businesses to pool their risk in order to secure lower insurance rates.” 155

Cong. Rec. H1919 (daily ed. Mar. 21, 2010).

        Despite these arguments, Congress rejected an amendment to the ACA that would have

established Association Health Plans. See Overview of Provisions in the Amendment in the Nature

of a Substitute to H.R. 3962 Offered by Mr. Boehner of Ohio, Congressional Research Service,

R40906               (Nov.               10,              2009),              https://www.everycrsre-

port.com/files/20091110_R40906_0f669b179c4aa1e6cb7c69407920dd29c19268c1.pdf                      (“The

Amendment would establish Association Health Plans (AHPs) to facilitate the offer and purchase

of health insurance sponsored by bona fide associations. . . . AHPs would have sole discretion to

determine the specific items and services to be included as benefits, except in the case of [certain

specified] state laws . . . .”); Final Vote Results for Roll Call 885 (Nov. 7, 2009, 10:28 PM),

http://clerk.house.gov/evs/2009/roll885.xml (vote on Boehner of Ohio Substitute Amendment).

When Congress considers a provision while crafting a bill, but does not ultimately include it, this

“strongly militates against a judgment that Congress intended a result that it expressly declined to

enact,” Gulf Oil Corp. v. Copp Paving Co., 419 U.S. 186, 200 (1974). And this was not the first

time that Congress rejected legislation permitting AHPs; it also rejected such legislation repeatedly

from 1995 to 2005. See H.R. Rep. No. 109-41, at 1-5 (2005); see also Dkt. No. 1, at 26-28. In

short, Congress’s long and consistent history of rejecting legislation that would permit AHPs—

including particularly its rejection of such a proposal during the debate over the ACA—only bol-

sters what the ACA’s text and structure already make clear: that these Plans undermine the Act’s

distinction between small and large employers and are therefore unlawful.

                                                 ***




                                                  16
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 22 of 24



       In sum, the text, structure, and history of the ACA all confirm what everyone in Congress

understood at the time the law was enacted: the distinction between the individual and small group

markets on the one hand, and the large group market on the other, is critical to the effective oper-

ation of the ACA. The Department of Labor’s new Rule eviscerates that distinction, violating the

text of the ACA and undermining Congress’s legislative plan in passing it. The Department of

Labor’s new Rule is therefore unlawful.

                                          CONCLUSION

       For the foregoing reasons, Defendants’ motion for summary judgment should be denied.

                                              Respectfully submitted,

Dated: November 29, 2018                      /s/ Brianne J. Gorod
                                              Brianne J. Gorod

                                              Elizabeth B. Wydra (DC Bar No. 483298)
                                              Brianne J. Gorod (DC Bar No. 982075)
                                              Ashwin P. Phatak (DC Bar No. 1531218)
                                              CONSTITUTIONAL ACCOUNTABILITY CENTER
                                              1200 18th Street, N.W., Suite 501
                                              Washington, D.C. 20036
                                              (202) 296-6889
                                              brianne@theusconstitution.org

                                              Counsel for Amici Curiae Members of Congress




                                                17
       Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 23 of 24



                                       APPENDIX:
                                      LIST OF AMICI

Rep. Nancy Pelosi
      Democratic Leader

Rep. Steny H. Hoyer
       Democratic Whip

Rep. James E. Clyburn
       Assistant Democratic Leader

Rep. Joseph Crowley
       Democratic Caucus Chair

Rep. Linda T. Sánchez
       Democratic Caucus Vice-Chair

Rep. Robert C. “Bobby” Scott
      Ranking Member, Committee on Education and the Workforce

Rep. Frank Pallone, Jr.
       Ranking Member, Committee on Energy and Commerce

Rep. Jerrold Nadler
       Ranking Member, Judiciary Committee

Rep. Richard E. Neal
       Ranking Member, Committee on Ways and Means




                                             1A
        Case 1:18-cv-01747-JDB Document 57 Filed 11/29/18 Page 24 of 24



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2018, the foregoing document was filed with the

Clerk of the Court, using the CM/ECF system, causing it to be served on all counsel of record.

Dated: November 29, 2018
                                                    /s/ Brianne J. Gorod
                                                    Brianne J. Gorod
